19 F.3d 12
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Timothy Ernest DAVIS, Defendant and Appellant.
    No. 93-7121.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 28, 1994.Decided March 8, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, District Judge.  (CR-90-6, CA-93-2-P).
      Timothy Ernest Davis, appellant pro se.
      Harry Thomas Church, Asst. U.S. Atty., Charlotte, NC, for appellee.
      W.D.N.C.
      AFFIRMED.
      Before WILLIAMS, Circuit Judge, and BUTZNER and SPROUSE, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Davis, Nos.  CR-90-6;  CA-93-2-P (W.D.N.C. Sept. 3, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    